Case 2:03-Cv-02582-.]PI\/|-tmp Document 43 Filed 07/26/05 Page 1 of 2 Page|D 60

-Fu.Eo ev %§£. D.c.

 

UNITED sTATEs DISTRICT comer 95 JUL 25 m 3: 30
WESTERN DISTRICT OF TENNESSEE M wm
WESTERN DIVISION MRWWSMH§I%M
W{D C‘f' ?\”'=KM,

HAE SOOK LEE, ANGIE HEE

JUNG LEE, INAE LEE,

OK YON CHI, MOO K. YUN,

and LYDIA SON JUDGMENT IN A CIVIL CASE

VS
HEUNG*SHIK MIN, HYUNG JOON

MIN, and HOME OF CHEERS CORP.
a/k/a HOUSE OF CHEERS CORP. CASE NO: 03-2582 Ml/P

 

All claims and counterclaims having been compromised and settled
between the parties:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Consent
Order of Mutual Dismissal With Prejudice filed July éf§:, 2005,
this case is DISMISSED with prejudice with each party to bear its
own costs.

APPROVED:

,QVQ m‘QLQO“

JO PHIPPS MCCALLA
UN TED STATES DISTRICT COURT

/ THOMAS M. GOuLD
7//¢,2(,,%3

Date Clerk of Court

(By) Depd£§ Clerh/

 

 

 

Tn:‘s document entered on the docket sheet in compliance

With Ru|e 58 and/or 79(3) FHCP on 7’£{2 1_1§ %3

 

Notice of Distributicn

This notice confirms a copy cf the document docketed as number 43 in
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Honcrable J on McCalla
US DISTRICT COURT

